                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 1 of 31


                                                                                        THE HONORABLE JAMES L. ROBART
                                      1

                                      2
                                      3
                                      4
                                      5

                                      6
                                      7
                                      8
                                      9

                                     10
                                     11                             UNITED STATES DISTRICT COURT
                                                                   WESTERN DISTRICT OF WASHINGTON
                                     12                                      AT SEATTLE
TROJAN LAW OFFICES




                                     13
                                          CALIFORNIA EXPANDED METAL               CASE NO. 2:18−cv−00659−JLR
                                          PRODUCTS COMPANY, a California
                     BEVERLY HILLS




                                     14
                                          corporation; and CLARKWESTERN           PLAINTIFFS’ COMBINED (1) REPLY TO
                                     15   DIETRICH BUILDING SYSTEMS LLC,
                                          dba CLARKDIETRICH BUILDING              DEFENDANTS’ OPPOSITION TO
                                          SYSTEMS, an Ohio limited liability      PLAINTIFFS’ MOTION FOR PARTIAL
                                     16                                           SUMMARY JUDGMENT AND (2)
                                          company,
                                     17                                           OPPOSITION TO DEFENDANTS’ CROSS-
                                                             Plaintiffs,          MOTION FOR SUMMARY JUDGMENT
                                     18           v.
                                                                                  ORAL ARGUMENT REQUESTED
                                     19   JAMES A. KLEIN, an individual;
                                          BLAZEFRAME INDUSTRIES, LTD., a
                                          Washington company; and SAFTI-SEAL,     NOTE ON MOTION CALENDAR:
                                     20                                           June 28, 2019
                                          INC., a Washington company,
                                     21
                                                             Defendants.
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                          PLAINTIFFS’ MOT. FOR SUMMARY JUDGMENT   -1-
                                          CASE No. 2:18−cv−00659−JLR
                                               Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 2 of 31


                                                                                                  Table of Contents
                                      1
                                                                                                                                                                                   PAGE
                                      2
                                          I.       INTRODUCTION ............................................................................................................... 1
                                      3
                                          II.      REPLY ARGUMENT ......................................................................................................... 3
                                      4
                                                   A.        Each Accused Product Meets Each Asserted Patent
                                      5
                                                             Claim ..................................................................................................................... 3
                                      6
                                                             1.         Plaintiffs’ Infringement Contentions Show How Each
                                      7                                 Asserted Patent Claim Applies to Each Accused Product ........................... 3
                                      8                      2.         The Safti-Seal Products Are the Same as the BlazeFrame®
                                      9                                 Products (which Indisputably Embody the Patents) Except
                                                                        as to the Thermal Barrier ............................................................................. 6
                                     10
                                                   B.        Safti-Seal’s Accused Products Infringe the Patents-in-Suit Because
                                     11                      the “Thermal Barrier” Is Part of the Intumescent Strip ........................................... 7
                                     12                      1.         The “Thermal Barrier” Is a “Non-intumescent Substrate”
                                                                        Included in the Court’s Claim Construction ................................................ 8
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14                      2.         Defendants’ Arguments Ignore the Court’s Claim
                                                                        Construction ................................................................................................. 8
                                     15
                                                             3.         The Court’s Claim Construction Does Not Limit the
                                     16                                 Intumescent Strip to a Composition Having Only One
                                     17                                 Layer of Adhesive...................................................................................... 10

                                     18                      4.         The Pessiki Report Does Not Raise any Triable Issue of
                                                                        Fact ............................................................................................................ 11
                                     19
                                                   C.        Safti-Seal’s Accused Products Infringe the Patents-in-Suit Because
                                     20                      the Safti-Seal’s Intumescent Strip Is “Affixed . . . On” the Metal
                                     21                      Header’s Sidewall .................................................................................................. 13

                                     22            D.        The Accused Safti-Seal Products Infringe Under the Doctrine of
                                                             Equivalents ............................................................................................................ 14
                                     23
                                                   E.        The “Safti-Strip” Tape Infringes the Patents-in-Suit ............................................. 16
                                     24
                                     25                      1.         Defendants Induce Infringement by Selling the Safti-Strip
                                                                        Tape to be Used in an Infringing Manner .................................................. 16
                                     26
                                                             2.         No Substantial Noninfringing Use of the Safti-Strip ................................. 18
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                                              -1-
                                          Case No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 3 of 31


                                                            3.         Potential “Noninfringing Uses” of the Safti-Strip Tape
                                      1
                                                                       Does Not Matter Because There Is Overwhelming
                                      2                                Evidence That Defendants Intended the Safti-Strip Tape to
                                                                       be Used in an Infringing Manner ............................................................... 20
                                      3
                                                  F.        The Metal Track Products ..................................................................................... 20
                                      4
                                                  G.        Klein Has Infringed the Patents-in-Suit ................................................................. 21
                                      5

                                      6           H.        The Undisputed Facts Establish a Breach of Contract .......................................... 22

                                      7           I.        Plaintiffs Are Entitled to Summary Judgment on Defendants’
                                                            Patent Misuse Defense ........................................................................................... 23
                                      8
                                      9                     1.         Collateral Estoppel Bars Defendants’ Patent Misuse
                                                                       Defense ...................................................................................................... 23
                                     10
                                                            2.         There Is No Tying Agreement ................................................................... 23
                                     11
                                                            3.         No Reverse Settlement Payment ............................................................... 24
                                     12
                                          III.    CONCLUSION.................................................................................................................. 24
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                                            -2-
                                          Case No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 4 of 31


                                                                                         TABLE OF AUTHORITIES
                                      1
                                          Cases                                                                                                                           PAGE
                                      2
                                          AFG Indus., Inc. v. Cardinal IG Co.,
                                      3         239 F.3d 1239 (Fed. Cir. 2001) ......................................................................................... 14
                                      4   Baxter Int'l, Inc. v. CareFusion Corp.,
                                                 No. 15-CV-9986,
                                      5
                                                 2017 WL 1049840 (N.D. Ill. Mar. 20, 2017) .................................................................... 16
                                      6
                                          CIAS, Inc. v. Alliance Gaming Corp.,
                                      7          504 F.3d 1356 (Fed. Cir. 2007) ......................................................................................... 11
                                      8   Comm. for Idaho’s High Desert, Inc. v. Yost,
                                      9         92 F.3d 814 (9th Cir. 1996) ........................................................................................... 2, 21

                                     10   C.R. Bard, Inc. v. Adv. Cardiovascular Sys., Inc.,
                                                 911 F.2d 670 (Fed. Cir. 1990) ........................................................................................... 18
                                     11
                                          Crown Packaging Tech., Inc. v. Rexam Beverage Can Co.,
                                     12         559 F.3d 1308 (Fed. Cir. 2009) ......................................................................................... 14
TROJAN LAW OFFICES




                                     13
                                          Elektromedizin GmbH v. Canady Tech. LLC,
                     BEVERLY HILLS




                                     14          629 F.3d. 1278 (Fed. Cir. 2010) ........................................................................................ 18

                                     15   F.T.C. v. Actavis, Inc.,
                                                 570 U.S. 136 (2013)........................................................................................................... 24
                                     16
                                     17   Johns Hopkins Univ. v. Datascope Corp.,
                                                 543 F.3d 1342 (Fed. Cir. 2008) ......................................................................................... 16
                                     18
                                          Microsoft Corp. v. Suncrest Enter.,
                                     19         No. C03-5424 JF (HRL),
                                                2006 WL 1329881 (N.D. Cal. May 16, 2006) ................................................................... 21
                                     20
                                     21   Nelson v. Pima Cmty. Coll.,
                                                 83 F.3d 1075 (9th Cir. 1996) ............................................................................................. 23
                                     22
                                          Perez v. Gordon & Wong Law Grp.,
                                     23          P.C., No. 11-CV-03323-LHK,
                                                 2012 WL 1029425 (N.D. Cal. Mar. 26, 2012) .................................................................. 24
                                     24
                                     25   Toshiba Corp. v. Imation Corp.,
                                                 681 F.3d 1358 (Fed. Cir. 2012) ............................................................................. 18, 19, 20
                                     26
                                          Vanguard Prods. Corp. v. Parker Hannifin Corp.,
                                     27         234 F.3d 1370 (Fed. Cir. 2000) ......................................................................................... 12
                                     28

                                          PLAINTIFFS’ MSJ REPLY                                           -3-
                                          Case No. 2:18−cv−00659−JLR
                                            Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 5 of 31


                                          Verizon Servs. Corp. v. Vonage Holdings Corp.,
                                      1
                                                 503 F.3d 1295 (Fed. Cir. 2007) ........................................................................................... 7
                                      2
                                          Zendel v. Circle Location Servs., Inc.,
                                      3          No. CV1107963SJOCWX,
                                                 2012 WL 12877182 (C.D. Cal. Apr. 5, 2012) ................................................................... 22
                                      4
                                          Zenith Labs., Inc. v. Bristol-Myers Squibb Co.,
                                      5
                                                 19 F.3d 1418 (Fed. Cir. 1994) ........................................................................................... 16
                                      6
                                      7   Codes, Rules, & Statutes                                                                                                                 PAGE
                                      8   35 U.S.C. §271(b)             ................................................................................................................... 16

                                      9

                                     10
                                     11
                                     12
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                                              -4-
                                          Case No. 2:18−cv−00659−JLR
                                               Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 6 of 31


                                                                MEMORANDUM OF POINTS AND AUTHORITIES
                                      1

                                      2            Plaintiffs California Expanded Metals Company (CEMCO) and ClarkWestern Dietrich

                                      3   Building Systems, LLC (ClarkDietrich) (collectively, “Plaintiffs”) respectfully submit this
                                      4   combined:
                                      5
                                                   (1) Reply to Defendants Safti-Seal, Inc., BlazeFrame, Ltd., and James A. Klein’s
                                      6
                                          (collectively, “Defendants”) Opposition (Dkt. #104) to Plaintiffs’ Motion for Partial Summary
                                      7
                                          Judgment (Dkt. #102), and,
                                      8
                                      9            (2) Opposition to Defendants’ Cross-Motion for Summary Judgment1 (Dkt. #104).

                                     10   I.       INTRODUCTION

                                     11            Defendants have failed to raise a triable issue of fact as to Plaintiffs’ second cause of action
                                     12   for patent infringement, which claims that the accused Safti-Seal products infringe the Patents-at-
TROJAN LAW OFFICES




                                     13
                                          Issue. Under the Court’s construction, the accused products are infringing because each contains a
                     BEVERLY HILLS




                                     14
                                          “strip that comprises a substance that expands when exposed to heat” (DE 98, at 10), i.e., the Safti-
                                     15
                                          Seal intumescent strip contains intumescent material plus a thermal barrier. It includes intumescent
                                     16
                                     17   material, but is not limited to only intumescent material. Id. The thermal barrier is part of the

                                     18   intumescent strip – i.e., the thermal barrier is a non-intumescent substrate on which the intumescent

                                     19   substance lies. Ignoring the Court’s claim construction, Defendants attempt to re-litigate claim
                                     20
                                          construction when they argue that the thermal barrier is not part of the claimed intumescent strip
                                     21
                                          but rather is just one of several layers and that it is separate from the intumescent substance and
                                     22
                                          adhesive layers. But these arguments do not avoid infringement because the Court’s construction
                                     23
                                          does not limit the strip to any specific composition or configuration of intumescent substance and
                                     24
                                     25   non-intumescent substrate.

                                     26
                                          1
                                            Defendants’ cross-motion for summary judgment is an improper “second bite” at the proverbial
                                     27   apple because Defendants have already moved for summary judgment on the patent infringement
                                          claims (Dkt. #72), which the Court denied (Dkt. #89).
                                     28

                                          PLAINTIFFS’ MSJ REPLY                             -1-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 7 of 31


                                                  Even if the thermal barrier is deemed not to be part of the “intumescent strip,” the accused
                                      1

                                      2   Safti-Seal products still infringe under the doctrine of equivalents because they perform

                                      3   substantially the same function (i.e. seal head-of-wall construction joints) in substantially the same
                                      4   way (i.e. using intumescent substance) with substantially the same result (i.e. sealed joints) as
                                      5
                                          claimed in the Patents-at-Issue.
                                      6
                                                  In addition to direct patent infringement by the Safti-Seal slotted track products, Klein and
                                      7
                                          Safti-Seal also induce infringement and contributorily infringed by selling the Safti-Strip tape to be
                                      8
                                      9   assembled onto metal tracks into the claimed head-of-wall assemblies at the job sites, and by selling

                                     10   track with factory-applied Safti-Strip for assembly into infringing wall-assemblies. Specifically,

                                     11   Klein and Safti-Seal provide instructional videos on the Safti-Seal website instructing customers
                                     12   how to apply the Safti-Strip tape to the metal tracks, and to use Safti-Frame track, to construct
TROJAN LAW OFFICES




                                     13
                                          infringing head-of-wall assemblies. Safti-Seal’s website features photographs of the Safti-Strip
                     BEVERLY HILLS




                                     14
                                          tape and the Safti-Frame track used solely on infringing “Current Projects” comprising infringing
                                     15
                                          head-of-wall assemblies.
                                     16
                                     17           Klein is personally liable for the infringement because he is the founder, sole owner, and

                                     18   sole officer of Safti-Seal. The Ninth Circuit instructs that “[a] corporate officer or director is, in

                                     19   general, personally liable for all torts which he authorizes or directs or in which he participates,
                                     20
                                          notwithstanding that he acted as an agent of the corporation and not on his own behalf.” Comm.
                                     21
                                          for Idaho’s High Desert, Inc. v. Yost, 92 F.3d 814, 823 (9th Cir. 1996). Therefore, Klein is
                                     22
                                          personally liable for the patent infringement that he authorized and directed through Safti-Seal.
                                     23
                                                  Further, because Klein is personally liable for infringing the Patents-at-Issue, he is also in
                                     24
                                     25   breach of contract. Under the settlement agreement in the prior litigation, Klein is prohibited from

                                     26   offering for sale or selling any product covered by the Patents-at-Issue and he agreed not to offer
                                     27   for sale or sell intumescent strips that he knows will be used to make the products licensed under
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -2-
                                          Case No. 2:18−cv−00659−JLR
                                              Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 8 of 31


                                          the Patents-at-Issue. (Dkt. #11-1.) Klein’s sale of the infringing Safti-Seal products is a continuing
                                      1

                                      2   breach of the settlement agreement.

                                      3   II.     ARGUMENT
                                      4           A.      Each Accused Product Meets Each Asserted Patent Claim
                                      5
                                                  Defendants argue that “Plaintiffs’ Motion treats all Safti-Seal products as though they were
                                      6
                                          the same” and “does not distinguish between products…” (Dkt. #104 at 7:7-8.) This is not correct.
                                      7
                                          Plaintiffs have set forth in detail how the asserted patent claims read on the accused products in
                                      8
                                      9   Plaintiffs’ Infringement Contentions, which was submitted in support of Plaintiffs’ summary

                                     10   judgment motion. (Dkt. #103-5.) Even so, it is not necessary to distinguish the individual accused

                                     11   products because the question of infringement hinges on the singular question of whether the
                                     12   asserted claims read on the products despite having a “thermal barrier.”2
TROJAN LAW OFFICES




                                     13
                                                          1.      Plaintiffs’ Infringement Contentions Show How Each Asserted Patent
                     BEVERLY HILLS




                                     14
                                                                  Claim Applies to Each Accused Product
                                     15
                                                  In Plaintiffs’ 58-page Infringement Contentions submitted in support of Plaintiffs’ summary
                                     16
                                     17   judgment motion, Plaintiffs analyze in detail how each and every asserted claim reads on the

                                     18   following accused products:

                                     19                   1. Safti-Strip™ 'Peel and Stick' Install (All Products)
                                     20                   2. DSL - Slotted Leg (Both Sides) (All Products)

                                     21                   3. SL - Slotted Leg (One Side) (All Products)
                                                          4. DL - Solid Deep Leg (All Products)
                                     22
                                                          5. Shaft Wall (All Products)
                                     23
                                     24
                                     25   2
                                           Defendants are also inaccurate when the claim that Plaintiffs have asked for summary judgment
                                     26   of infringement by Defendant Blazeframe Industries. Def. Brief, at 3. Plaintiffs have not
                                          requested a finding of summary judgment of infringement against Blazeframe Industries.
                                     27   Similarly, Defendants have not provided any evidence on the issue of this claim, and so are not
                                          entitled to summary judgment of non-infringement by Blazeframe Industries.
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -3-
                                          Case No. 2:18−cv−00659−JLR
                                                              Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 9 of 31


                                                                                                6. Flute Cover – (Vertical (VT), Bottom Track (BT), Bottom J-Runner Cover
                                                1
                                                                                                          Base (BJR))
                                                2
                                                                                                7. Resilient Channel (All Products)
                                                3           Product Profile 8. Offset Legs
                                                                            Dimensions                                            (All Products)
                                                4           (Dkt. #103-5 at 5/70.)
                                                5
                                                                             For example, Plaintiffs show that the DSL – Slotted Leg has the following claim elements:
                                                6
                                       PS7 - SaftiFrame “DSL” (Slotted Both Sides) Profiles with two slotted legs
Composite Safti-Strip/Framing for use in up to 2 hr rated wall assemblies. Provides 100% unencumbered
joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                                7
Minimum G40 (25ga) and G60 (18ga and heavier) coating two legs with slots spaced 1” O/C for         Intumescent Strip
                                                                                                                                                   Upper Sidewall Portion
attachment of studs per listed assemblies in UL Fire Resistance Directory.

         (I)
                                                8
       (S)
                                                                                              (L)
                                                                                                                                                   Lower Sidewall Portion
                                                9
                                                1.00"        .25"
                                                             Fastener mid-height
                                                              of exposed slot

              Widths (W)
              250 (2 1/2")
                                              10 Mil (Ga)
                                                .030 (20)
                                                                       Part Identification
                                                                    Example: 362DSL2-30
              362 (3 5/8")                      .033 (20)
                                                                               DSL 2         - 30
                                                                                                                              Outer Sidewall Surface
              400 (4")                          .043 (18)             362
              600 (6")
              800 (8")                        11.054 (16)
                                                .068 (14)      Track Width
                                                                          Profile
                                                                                  Series
                                                                                              Gauge



                                                                                                               Inner Sidewall Surface
                                       1 - Series (Fire Stop One Side)                                2 - Series (Fire Stop Both Sides)

                                              12      (W)                                                           (W)


                             (L)                                       (L)                          (L)                            (L)
  TROJAN LAW OFFICES




                                              13
                                                            (Dkt. #103-14 at 10/53; Dkt. #103-5 at 14/70.) The infringement contentions apply equally to the
                       BEVERLY HILLS




                                              14
                                                            other      Safti-Seal     products
                                                                                                          Slot Height
                                           Profile          Leg Length
                                                               (L)
                                                                          Strip Width
                                                                              (I)         (S)  because
                                                                                                 Protection all the products have in common the key elements of a metal
                                                                                                   Joint

                                           DSL
                                              15
                                           DSLW
                                                              3.00"
                                                              3.00"
                                                                                    1.00"
                                                                                    1.25"
                                                                                                            1.50"
                                                                                                            1.50"
                                                                                                                                .75"
                                                                                                                               1.00"
                                           DSLX               4.00"                 1.75"                   2.00"              1.50"
                                                            track (withLeed
                                                                        a Points
                                                                            web and a sidewall) and an intumescent strip affixed in the same location. (Id.)
UL, ASTM & Code Standards
UL2079 (5th Edition) & CAN/ULC S115           16                                     MR 2.1 & 2.2 - Construction Waste: up to 2pts
ASTM E814, E1966, E2837                                                              MR 4.1 & 4.2 - Recycled Content: up to 2 pts
A1003, A653, A924, C645, C754, C955
Sound Tested according to ASTM E90-09
                                              17            Though some of the metal tracks have slightly different profiles, the differences are immaterial to
                                                                                     MR 5.1 & 5.2 - Regional Proximity
                                                                                     EQ 4.1 - Low Emitting Materials
2015 & 2018 IBC                                                                      EQ 9 - Enhanced Acoustical
                                                               Phone: (425) 869-2811 Fax: (425) 869-2300

                                              18            infringement because all the elements of the metal track that are claimed in the patents can be found
                                                                           www.saftiseal.com

                                              19            in the accused products.
                                              20                             Defendants also argue that the Safti-Seal products cannot infringe any claims directly
                                              21
                                                            because they do not provide studs, wallboard, and other components of the finished wall
                                              22
                                                            assemblies. However, they ignore at least the claims of the ’314 and ’718 patents. Claims 6-9 of
                                              23
                                                            the ’314 patent are directed to “a generally U-shaped sheet metal track” that is slotted and does not
                                              24
                                              25            require wallboard, etc., nor are these claims limited to “header” tracks. ’314 patent, cl. 6-9.

                                              26            Similarly, claims 12-15 of the ’718 patent are directed to “an elongated U-shaped sheet metal track”

                                              27
                                              28

                                                            PLAINTIFFS’ MSJ REPLY                                                                  -4-
                                                            Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 10 of 31

                                                          Case 2:18-cv-00659-JLR Document 103-14 Filed 05/10/19 Page 9 of 53

                                      1                                Product
                                          that is slotted and does not require    Profileetc.,
                                                                               wallboard, Dimensions
                                                                                               nor are these claims limited to “header” tracks.

                                      2   ’718 patent, cl. 12-15.

                                      3            In any event, for both the claims directed to track alone and those directed to track
                                      4   incorporated in a wall assembly (whether slotted or unslotted), what matters most is that the location
                                                         PS4 – SaftiFrame “SL” (Slotted One Side) Profiles One slotted and One solid leg
                                      5
                                          of the intumescent     strip is thefor
                                                 Composite Safti-Strip/Framing same
                                                                                 use infor  all2 hr
                                                                                        up to    therated
                                                                                                       accused     products,
                                                                                                          wall assemblies.     for example:
                                                                                                                           Provides 100% unencumbered
                                                joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                      6         Minimum G40 (20ga) and G60 (18ga and heavier) coating having one leg with slots 1” O/C for
                                           Safti-Seal   Product Name                                        Safti-Seal Product Drawing
                                                attachment of studs per listed assemblies in UL Fire Resistance Directory.
                                      7
                                           SL - Slotted Leg (One
                                                    (I) Case       Side) (All Products)
                                                             2:18-cv-00659-JLR Document 103-14                                            Filed 05/10/19 Page 9 of 53
                                      8
                                                                                                          (L1)
                                                        (S)                                   Product Profile  Dimensions
                                      9
                                                               Pat. Pend
                                                                               1.00"           .25"
                                     10                                                       Fastener mid-height
                                                                                                of exposed slot

                                     11                 Widths (W)       Mil (Ga)        Part Identification
                                                        250 (2 1/2")    .030 (20)      Example: 250-SL-1-30
                                                        362 (3 5/8")    .033 (20)
                                     12                 400 (4")
                                                                –
                                                                        .043 (18)         250 SL 1 - 30
                                                          PS4
                                                        600 (6")        .054 (16) “SL” (Slotted One Side) Profiles One slotted and One solid leg
                                                                  SaftiFrame
                                                                                    Track Width          Series
                                                        800 (8")Safti-Strip/Framing
                                                                        .068 (14)
TROJAN LAW OFFICES




                                     13              Composite                       for use inProfile
                                                                                                 up to 2 hr rated   wall assemblies. Provides 100% unencumbered
                                                                                                                Gauge
                                                     joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                                     Minimum 1 - Series (Fire Stop
                                                                 G40 (20ga)        One Side)
                                                                               and G60  (18ga and heavier) coating2 having
                                                                                                                    - Series one
                                                                                                                             (Fireleg
                                                                                                                                    Stop Both
                                                                                                                                      with    Sides)
                                                                                                                                           slots 1” O/C for
                                                                                                                     Dkt.    #103-14        at 9/53
                     BEVERLY HILLS




                                     14              attachment of studs per(W)listed assemblies in UL Fire Resistance           (W).
                                                                                                                         Directory

                                     15    DL - Solid(L1)
                                                       Deep
                                                       (I)  Leg (All Products)
                                                                          (L2)                                                  (L1)                           (L2)
                                                                                                                              (L1)
                                     16                    (S)


                                     17                            Pat. Pend
                                                                                 1.00"           .25"
                                                                                                Fastener mid-height
                                                                                                  of exposed slot
                                                                Profile           Slotted Leg Length Solid Leg Length                  Strip Width   Slot Height        Joint
                                     18                        Widths (W)                 (L1)
                                                                                   Mil (Ga)                    (L2)
                                                                                                  Part Identification                      (I)          (S)           Protection
                                                                SL (2 1/2")
                                                               250                .030 (20)
                                                                                         3.00" Example: 250-SL-1-30
                                                                                                              2.00"                      1.00"         1.50"             .75"
                                                               362 (3 5/8")
                                     19                         SLW
                                                               400 (4")
                                                                                  .033 (20)
                                                                                         3.00"
                                                                                  .043 (18)        250 SL     2.00" 1 - 30               1.25"         1.50"            1.00"
                                                                SLX
                                                               600 (6")
                                                                                         4.00"
                                                                                  .054 (16)                   2.50"                      1.75"         2.00"            1.50"
                                                                                                  Track Width          Series
                                     20                        800 (8")
                                                  UL, ASTM & Code Standards
                                                                                  .068 (14)
                                                                                                                Gauge
                                                                                                   Profile Leed Points
                                                  UL2079 (5th Edition)  &  CAN/ULC     S115
                                                               1 - Series (Fire Stop One Side)             MR 2.1  &2 2.2 - Construction
                                                                                                                      - Series            Waste:
                                                                                                                               (Fire Stop Both    up to 2pts
                                                                                                                                               Sides)
                                     21           ASTM E814, E1966, E2837     (W)                          MR 4.1 & 4.2Id.- Recycled
                                                                                                                             at 8/53
                                                                                                                                   (W)Content: up to 2 pts
                                                  A1003, A653, A924, C645, C754, C955                      MR 5.1 & 5.2 - Regional Proximity
                                                  Sound Tested according to ASTM E90-09                    EQ 4.1 - Low Emitting Materials
                                     22           2015 & 2018 IBC
                                                              (L1)                            (L2)         EQ 9 (L1)
                                                                                                                - Enhanced Acoustical             (L2)

                                                                                                Phone: (425) 869-2811 Fax: (425) 869-2300
                                     23   (See Supplemental Declaration of R. Joseph Trojan (“Supp. Trojan Decl.”), Ex. 20.)
                                     24                                                                    www.saftiseal.com
                                                   Defendants
                                                          Profile themselves        make
                                                                      Slotted Leg Length Solidno   distinction
                                                                                              Leg Length Strip Widthamong     the accused
                                                                                                                      Slot Height  Joint  products in their
                                     25                                                       (L1)                     (L2)               (I)          (S)         Protection
                                                                     SL                       3.00"                   2.00"              1.00"        1.50"           .75"
                                          Opposition. In particular, Defendants do not point out how the metal tracks are different, how such
                                                                     SLW                      3.00"                   2.00"              1.25"        1.50"          1.00"
                                     26                              SLX                      4.00"                   2.50"              1.75"        2.00"          1.50"


                                     27              UL, ASTM & Code Standards
                                                     UL2079 (5th Edition) & CAN/ULC S115
                                                                                                                         Leed Points
                                                                                                                         MR 2.1 & 2.2 - Construction Waste: up to 2pts
                                                     ASTM E814, E1966, E2837                                             MR 4.1 & 4.2 - Recycled Content: up to 2 pts
                                     28              A1003, A653, A924, C645, C754, C955                                 MR 5.1 & 5.2 - Regional Proximity
                                                     Sound Tested according to ASTM E90-09                               EQ 4.1 - Low Emitting Materials
                                                     2015 & 2018 IBC                                                     EQ 9 - Enhanced Acoustical
                                          PLAINTIFFS’ MSJ REPLY                                                                  -5-
                                                                                                  Phone: (425) 869-2811 Fax: (425) 869-2300
                                          Case No. 2:18−cv−00659−JLR

                                                                                                             www.saftiseal.com
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 11 of 31


                                          differences matter to the determination of infringement, or what particular elements of the metal
                                      1

                                      2   tracks cannot be found in the claims.

                                      3           In fact, in discovery Defendants did not identify a single element of the metal tracks that
                                      4   they contend is not covered by the claims. For example, Plaintiffs propounded Interrogatory No.
                                      5
                                          16, which asked:
                                      6
                                                          For Your Eighth Affirmative Defense asserting that “Defendants do not
                                      7                   directly infringe and have not directly infringed, either literally or under the
                                                          doctrine of equivalents, and do not indirectly infringe and have not indirectly
                                      8                   infringed, by contributing to infringement or inducing infringement of, any
                                      9                   valid and enforceable claim of any of United States Patent Numbers
                                                          7,681,365, 7,814,718, 8,136,314, 8,151,526, 7,866,108, and 8,056,293,”
                                     10                   describe in detail the factual bases supporting said defense…

                                     11
                                          (Supp. Trojan Decl., Ex. 17 at Response to No. 16.) Defendants responded with boilerplate
                                     12
                                          objections, without identifying any fact tending to show that the asserted patent claims do not read
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   on any particular features of the metal tracks, or other elements of the claims. (Id.)

                                     15           It is thus disingenuous for Defendants to now argue that Plaintiffs did not “specifically
                                     16   explain why each product meets each element of each asserted patent claim” (Dkt. #104 at 7:8-10)
                                     17
                                          when Defendants have never disputed infringement on any ground other than the “thermal barrier.”
                                     18
                                                          2.      The Safti-Seal Products Are the Same as the BlazeFrame® Products
                                     19
                                                                  (which Indisputably Embody the Patents) Except as to the Thermal
                                     20
                                     21                           Barrier

                                     22           Defendants admit that there is no question of fact that the BlazeFrame products are covered

                                     23   by the claims at issue. Def. Brief, at 3 (“the Plaintiffs’ own products embody the patents-in-suit”).
                                     24
                                          Defendants further admitted in their Answer that the only difference between the “Safti-Seal
                                     25
                                          products and any products covered by the Patents in [S]uit [is] that the Safti-Seal products have the
                                     26
                                          intumescent strip attached to a thermal barrier and not [directly] to the sidewall of the header
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                            -6-
                                          Case No. 2:18−cv−00659−JLR
                                              Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 12 of 31


                                          track.”3 (Dkt. #71 at ¶16 (emphasis added).) Defendants reiterated this in their own prior motion
                                      1

                                      2   for summary judgment:

                                      3                     Plaintiffs and Defendants thus both apply competing fire safety strips onto
                                                            metal header tracks. Plaintiffs’ product is an intumescent strip in the form
                                      4                     of a self-adhering “tape” …, whereas Defendants’ product is also a tape
                                                            product but, unlike Plaintiffs’, it consists of an intumescent material glued
                                      5
                                                            onto a strip of a thermal insulating material (thermal barrier).
                                      6
                                          (Dkt. #72 at 14:2-7.)
                                      7
                                                    Furthermore, in their present briefing (at p. 3), Defendants admit that the only fact in dispute
                                      8
                                      9   is whether “[t]he Safti-Seal thermal barrier is part of the intumescent strip.”

                                     10             Given Defendants’ admission that the BlazeFrame® products are covered by the Patents-

                                     11   at-Issue, it follows as a matter of logic that if the only difference between the Safti-Seal products
                                     12   and the BlazeFrame® products is the thermal barrier, then the infringement analysis need only
TROJAN LAW OFFICES




                                     13
                                          focus on the thermal barrier. The balance of the claim limitations are admitted to have been met by
                     BEVERLY HILLS




                                     14
                                          the Safti-Seal products. Despite Defendants’ suggestion to the contrary, the fact that there is one
                                     15
                                          difference between the Safti-Seal products and the BlazeFrame products does not in itself mean
                                     16
                                     17   that the Safti-Seal products cannot infringe the patents-in-suit. It is axiomatic that patent claims

                                     18   can cover more than one embodiment of an invention. See Verizon Servs. Corp. v. Vonage Holdings

                                     19   Corp., 503 F.3d 1295, 1305 (Fed. Cir. 2007) (“We normally do not interpret claim terms in a way
                                     20
                                          that excludes disclosed examples in the specification.”)
                                     21
                                                    B.      Safti-Seal’s Accused Products Infringe the Patents-in-Suit Because the
                                     22
                                                            “Thermal Barrier” Is Part of the Intumescent Strip
                                     23
                                                    Defendants argue that the thermal barrier is not part of the “intumescent strip.” (Dkt. #104
                                     24
                                     25   at 13:21.) Defendants then argue:

                                     26
                                     27
                                          3
                                              Defendants inaccurately attribute this statement to Plaintiffs. Def. Brief, at 17, fn. 8.
                                     28

                                          PLAINTIFFS’ MSJ REPLY                              -7-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 13 of 31


                                                          [T]he intumescent strip is a separate component from the thermal barrier…
                                      1
                                                          The thermal barrier in the Safti-Seal products…is made of closed-cell
                                      2                   foam.…The thermal barrier obviously is not an adhesive itself; rather, it is
                                                          plied to the metal profile of the header track on one side, and to the
                                      3                   intumescent strip on the other, with two separate adhesive layers.…the
                                                          intumescent strip and the thermal barrier are different components.
                                      4
                                          (Dkt. #104 at 16:11-20.) This argument that “the intumescent strip and the thermal barrier are
                                      5

                                      6   different components” because the thermal barrier “is made of closed-cell foam” is an attempt to

                                      7   re-argue claim construction. The Court has already ruled that the intumescent strip can include
                                      8   more than just intumescent material. The Court’s construction does not limit the strip to any specific
                                      9
                                          composition or configuration as long as the strip includes intumescent material somewhere.
                                     10
                                                          1.      The “Thermal Barrier” Is a “Non-intumescent Substrate” Included in
                                     11
                                                                  the Court’s Claim Construction
                                     12
                                                  The Court construed “intumescent strip” to mean a “strip that comprises a substance that
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   expands when exposed to heat.” (Dkt. #98 at 19:9-10.) The Court also explained how to apply its

                                     15   construction, stating “[t]his construction makes clear that the intumescent strip need not include
                                     16   only an intumescent substance. It is also broad enough to encompass preferred embodiments in
                                     17
                                          which the strip consists of a composition containing an intumescent substance, where that
                                     18
                                          composition lies atop a non-intumescent substrate.” (Id. at 19:10-14 (emphasis added).)
                                     19
                                                  The Defendants’ thermal barrier is simply the “non-intumescent substrate” in the Court’s
                                     20
                                     21   claim construction. Hence, the “thermal barrier” is part of the intumescent strip under the Court’s

                                     22   claim construction.

                                     23                   2.      Defendants’ Arguments Ignore the Court’s Claim Construction
                                     24
                                                  Defendants argue the Court “left an appropriate degree of flexibility in the term. What it did
                                     25
                                          not do was rule that any strip of material is always an intumescent strip, as the patents use that
                                     26
                                          phrase, if it happens to have some amount of intumescent material in it. Yet that, in essence, is what
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -8-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 14 of 31


                                          the Plaintiffs argue.”       (Dkt. #104 at 14:2-5.)    This is a mischaracterization of the Court’s
                                      1

                                      2   construction.

                                      3           The Court left “an appropriate degree of flexibility” in the term “intumescent strip”
                                      4   sufficient to encompass a thermal barrier or other additional material.         The Court rejected
                                      5
                                          Defendants’ argument that an additional substance cannot be part of the intumescent strip during
                                      6
                                          claim construction because the Court explicitly held that “Defendants’ construction of ‘intumescent
                                      7
                                          strip’ is too narrow.” (Dkt. #98 at 18:17-19 (citation omitted).) As the Court explained, the
                                      8
                                      9   Defendants’ construction excludes embodiments in the specification: “Defendants’ construction

                                     10   does not encompass intumescent strips in which the composition that contains the intumescent

                                     11   substance lies upon a non-intumescent substrate like wax paper or mineral wool.” (Dkt. #98 at
                                     12   18:22-19:2.)
TROJAN LAW OFFICES




                                     13
                                                  It does not matter that the intumescent strip and the thermal barrier are “different
                     BEVERLY HILLS




                                     14
                                          components,” as Defendants argue, because the word “component” is not part of the Court’s
                                     15
                                          construction. The Court’s construction did not limit the intumescent strip to a homogeneous one-
                                     16
                                     17   piece construction. The Court’s construction uses the terms “intumescent substance” and “non-

                                     18   intumescent substrate.” (Dkt. #98 at 19:10-14.) Defendants cannot dispute that the thermal barrier

                                     19   is a “non-intumescent substrate.”
                                     20
                                                  Nonetheless, Defendants do actually dispute this. They argue that the thermal layer cannot
                                     21
                                          be the non-intumescent substrate because the intumescent strip from Rectorseal includes a thin
                                     22
                                          protective coating on the outside of the intumescent material, and so this protective coating is the
                                     23
                                          only permitted “substrate.” Def. Brief, at 19-20. This assertion is incorrect and misses the point.
                                     24
                                     25   The Ackerman patent includes an “Example” that describes “the practice of the present invention

                                     26   in its preferred embodiments.” (Dkt. #93-7 at 6:14-15.) The example includes both a non-
                                     27   intumescent substrate (a flexible Mylar polyethylene terephthalate film) on one side and “a
                                     28

                                          PLAINTIFFS’ MSJ REPLY                            -9-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 15 of 31


                                          protective sheath” on the other side. According to the Court’s claim construction order, the Patents
                                      1

                                      2   incorporated the preferred embodiments of the Ackerman Patent: “The ’718 Patent and the ’314

                                      3   Patent thus do explicitly what the ’365 Patent did by incorporation by reference: they sweep into
                                      4   the Patents not only the specific compositions of the intumescent strips the Ackerman Patent claims,
                                      5
                                          but also the Ackerman Patent’s preferred embodiments.” Claim Construction Order, p. 18, ll. 13-
                                      6
                                          16. The Court’s claim construction clearly covers an embodiment with both a non-intumescent
                                      7
                                          substrate and a protective coating. It is not limited to one or the other as Defendants suggest.
                                      8
                                      9                   3.      The Court’s Claim Construction Does Not Limit the Intumescent Strip

                                     10                           to a Composition Having Only One Layer of Adhesive

                                     11           Further, the Court noted in its claim construction order:
                                     12                   Defendants’ construction appears not to embrace a preferred embodiment,
                                                          expressly described in all the Patents, in which the intumescent strip “has
TROJAN LAW OFFICES




                                     13
                                                          an adhesive backing that allows it to be readily affixed onto the outer
                     BEVERLY HILLS




                                     14                   sidewall surface.” (See ’365 Patent at 5:3-4; ’718 Patent at 5:5-6; ’314
                                                          Patent at 5:5-6; ’526 Patent at 5:39-40.) Defendants’ construction is thus
                                     15                   fatally under-inclusive.” (Id. at 19:3-8.)
                                     16   (Dkt. #98 at 19:3-8.)
                                     17
                                                  In response to this, Defendants now argue that “[t]he thermal barrier obviously is not an
                                     18
                                          adhesive itself; rather, it is plied to the metal profile of the header track on one side, and to the
                                     19
                                          intumescent strip on the other, with two separate adhesive layers.” (Dkt. #104 at 16:11-20.)
                                     20
                                     21   Defendants miss the point. The Court’s construction refers to a “non-intumescent substrate.” The

                                     22   “non-intumescent substrate” is not limited to just an adhesive layer. Likewise, the Court further

                                     23   rejected Defendants’ arguments that the claimed “intumescent strip” is limited to a strip
                                     24
                                          manufactured according to one process described in the patent specification.              Therefore,
                                     25
                                          Defendants’ argument that the thermal barrier is not an adhesive layer is irrelevant. Those
                                     26
                                          arguments were rejected in claim construction and should be given no weight now on infringement.
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -10-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 16 of 31


                                                  To the extent the accused Safti-Seal products have both a thermal barrier and an adhesive
                                      1

                                      2   interposed between the intumescent substance and the outer sidewall surface, both are non-

                                      3   intumescent substrates and so are part of the claimed “intumescent strip.” Alternatively, if (as
                                      4   Defendants’ argue), the thermal barrier is considered to be a separate article, the existence of that
                                      5
                                          thermal barrier still does not avoid infringement. With its “comprising” language, the claim is an
                                      6
                                          open-ended claim and the thermal barrier is nothing more than an additional, unrecited element.
                                      7
                                          CIAS, Inc. v. Alliance Gaming Corp., 504 F.3d 1356, 1360 (Fed. Cir. 2007) (infringing device may
                                      8
                                      9   include additional, unrecited elements).

                                     10           Moreover, the Court’s claim construction does not require that the “intumescent substance”

                                     11   sit directly on top of an adhesive. Rather, the Court said that the “intumescent substance…lies
                                     12   atop a non-intumescent substrate.” (Dkt. #98 at 18:22-19:2.) The “non-intumescent substrate”
TROJAN LAW OFFICES




                                     13
                                          does not have to be an adhesive. Therefore, Defendants’ argument that the thermal barrier is not
                     BEVERLY HILLS




                                     14
                                          an adhesive fails because the Court’s construction is not limited to adhesive barriers because that
                                     15
                                          construction permits a multi-layer “intumescent strip.”
                                     16
                                     17                   4.      The Pessiki Report Does Not Raise any Triable Issue of Fact

                                     18           Defendants rely on the Declaration of Dr. Stephen Pessiki to argue that the thermal barrier

                                     19   is not part of the intumescent strip:
                                     20                   People of ordinary skill in the art reading the patents, or using the phrase
                                     21                   “intumescent strip” in their industry, would understand the intumescent
                                                          strip to be the Rectorseal component. (Pessiki Decl. at ¶ 21.) They would
                                     22                   not understand the separate thermal barrier to be part of that commercially
                                                          available component – because it is not. (Id.)
                                     23
                                          (Dkt. #104 at 16:4-10.) Defendants’ argument attempts to relitigate the Court’s claim construction
                                     24
                                     25   of “intumescent strip” by relying on the Pessiki declaration (Dkt. #104-1) as extrinsic evidence.

                                     26   Because the Court already construed “intumescent strip,” Dr. Pessiki’s opinion on how people of
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -11-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 17 of 31


                                          ordinary skill in the art would “understand” the meaning of “intumescent strip” is irrelevant and
                                      1

                                      2   too late.

                                      3           Further, Dr. Pessiki opines that the thermal barrier is separate from the intumescent strip
                                      4   because of the way the accused products are manufactured:
                                      5
                                                          Neither is the thermal barrier a part of the intumescent strip, as it is applied
                                      6                   after the intumescent strip is manufactured, packaged, and sold as a
                                                          complete and independent “intumescent strip.” The thermal barrier cannot
                                      7                   be deemed to be the “flexible substrate” identified in the Patents- at-Issue,
                                                          as the pre-manufactured intumescent strip that is a component part of Safti-
                                      8                   Seal’s product has already been extruded onto a flexible substrate of its own.
                                      9
                                          (Dkt. #104-1 at ¶20.)        The Court expressly rejected Defendants’ arguments during claim
                                     10
                                          construction that sought to import limitations about manufacturing into the claims:
                                     11
                                                          Yet, the Patents claim a product that features an intumescent strip, rather
                                     12                   than a specific means of manufacturing an intumescent strip. Defendants’
                                                          proposed construction elides that distinction. In so doing, Defendants
TROJAN LAW OFFICES




                                     13
                                                          contravene the rule that “[a] novel product that meets the criteria of
                     BEVERLY HILLS




                                     14                   patentability is not limited to the process by which it was made.” Vanguard
                                                          Prods. Corp. v. Parker Hannifin Corp., 234 F.3d 1370, 1372-73 (Fed. Cir.
                                     15                   2000) (emphasizing that “[t]he method of manufacture, even when cited as
                                                          advantageous, does not of itself convert product claims into claims limited
                                     16                   to a particular process”).
                                     17
                                          (Dkt. #98 at 14:10-17.)
                                     18
                                                  No matter how the Safti-Strip is manufactured, the thermal barrier is part of the Safti-Strip
                                     19
                                          tape as marketed and sold. The roll of Safti-Strip tape includes intumescent material, the thermal
                                     20
                                     21   layer, and the adhesive layer as a single product that is applied to the metal tracks:

                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -12-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 18 of 31


                                          (Dkt. #104-1 at 8:7-17.) This unitary, multi-layer tape is an “intumescent strip.”
                                      1

                                      2           Lastly, Dr. Pessiki’s opinion concerning Underwriter Laboratories (“UL”) requirements

                                      3   (Dkt. #104-1 at pp. 3-8 and 9-12) is especially irrelevant because UL requirements have no bearing
                                      4   on claim construction nor patent infringement. The patents do not require UL certification as a
                                      5
                                          claim limitation.
                                      6
                                                  In short, the Pessiki declaration does not raise a triable issue of fact as to patent
                                      7
                                          infringement. It is, at best, directed to issues of claim construction that have already been decided,
                                      8
                                      9   and so is not relevant to any of the issues in these summary judgment motions.

                                     10           C.      Safti-Seal’s Accused Products Infringe the Patents-in-Suit Because the Safti-

                                     11                   Seal’s Intumescent Strip Is “Affixed . . . On” the Metal Header’s Sidewall
                                     12           The Safti-Seal intumescent strip comprises intumescent material and thermal barrier. This
TROJAN LAW OFFICES




                                     13
                                          strip is “affixed … on” a sidewall of a metal track. There can be no material dispute that, therefore,
                     BEVERLY HILLS




                                     14
                                          the Safti-Seal intumescent strip, as part of a track product, literally infringes the patents-in-suit.
                                     15
                                                  Defendants argue that the intumescent strip of the accused Saft-Seal products is not
                                     16
                                     17   “affixed…on” the sidewall because:

                                     18                   Where the patents teach, at most, is a three layer design: (1) an intumescent
                                                          strip, affixed with (2) adhesive, to (3) a metal sidewall. Yet the accused
                                     19                   products incorporate a five-layer design: (1) an intumescent strip, affixed
                                                          with (2) a layer of adhesive, to (3) a thermal barrier, which is affixed with
                                     20                   (4) another layer of adhesive to (5) a metal sidewall.
                                     21
                                          (Dkt. #104 at 19:6-10.) Defendants’ “five-layer” argument is meritless because the Court’s claim
                                     22
                                          construction does not limit the combination of intumescent substance and non-intumescent
                                     23
                                          substrate to any specific number of layers or configuration of layers. The Court construed “affixed
                                     24
                                     25   lengthwise on at least one of the outer sidewall surfaces” to mean “attached lengthwise, directly or

                                     26   by means of an intervening adhesive, to at least one of the outer sidewall surfaces.” (Dkt. #98 at
                                     27   26:20-22.) The Court’s claim construction does not limit the intervening adhesive to one layer nor
                                     28

                                          PLAINTIFFS’ MSJ REPLY                            -13-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 19 of 31


                                          prohibit other layers that can make up the claimed “strip” from being interposed in between the
                                      1

                                      2   intumescent substance and the outer sidewall surface.

                                      3           In AFG Indus., Inc. v. Cardinal IG Co., the Federal Circuit determined that even when a
                                      4   patent claims describe a composition of layers of materials, the interposition of additional layers is
                                      5
                                          still covered by such claims. AFG Indus., Inc. v. Cardinal IG Co., 239 F.3d 1239, 1251 (Fed. Cir.
                                      6
                                          2001). The Federal Circuit held:
                                      7
                                                          The parties dispute whether the claim language requires that each successive
                                      8                   layer be “formed on” the prior layer in such a way that nothing is interposed
                                      9                   between each layer. As described above, however, the court has determined
                                                          that the claim language and the specification permit the presence of
                                     10                   interlayers between layers. Notably, the claim does not state that each layer
                                                          is “formed directly on” the preceding layer. Accordingly, we determine that
                                     11                   “formed on” does not mean “directly in contact with.”
                                     12   Id., 239 F.3d at 1251. As in AFG Indus., the additional “layers” in the accused product are still
TROJAN LAW OFFICES




                                     13
                                          covered by the Court’s claim construction.
                     BEVERLY HILLS




                                     14
                                                  D.      The Accused Safti-Seal Products Infringe Under the Doctrine of Equivalents
                                     15
                                                  To the extent Defendants contend the accused Safti-Seal products do not literally infringe
                                     16
                                     17   the Patents-at-Issue under the Court’s claim construction, the accused products still infringe under

                                     18   the doctrine of equivalents. The accused products infringe under the doctrine of equivalents

                                     19   because they perform substantially the same function in substantially the same way with
                                     20
                                          substantially the same result as claimed in the Patents-at-Issue. Crown Packaging Tech., Inc. v.
                                     21
                                          Rexam Beverage Can Co., 559 F.3d 1308, 1312 (Fed. Cir. 2009). They perform substantially the
                                     22
                                          same function (i.e. seal head-of-wall construction joints) in substantially the same way (i.e. using
                                     23
                                          intumescent substance) with substantially the same result (i.e. sealed joints) as claimed in the
                                     24
                                     25   Patents-at-Issue. (See https://www.saftiseal.com.)

                                     26           Defendants argue that the accused product do not infringe under the doctrine of equivalents
                                     27   because the Safti-Seal intumescent strip works in a different “way” to allow it to pass UL’s testing:
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -14-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 20 of 31


                                                          The invention in the patents-in-suit does not – without substantial
                                      1
                                                          modification – pass fire testing standards by Underwriter Laboratories,
                                      2                   whereas the accused products do.…The undisputed facts that (1) the
                                                          Plaintiffs’ products embody the patents…, (2) Safti-Seal’s thermal barrier
                                      3                   is a primary difference between the parties’ products (id. at 6), and (3) the
                                                          products function differently and produce different results in testing;
                                      4                   all are strong evidence that the thermal barrier is a difference between what
                                                          the patents claim and Safti-Seal sells.
                                      5

                                      6   (Dkt. #104 at 16:21-17:3 (emphasis added; internal citations omitted).)

                                      7           The claimed purpose of the patents is not to pass UL testing. As stated in the Patents-at-
                                      8   Issue, the purpose is to seal gaps in the wall construction to prevent smoke and fire from spreading
                                      9
                                          through room. For example, the ’365 Patent states that “[t]he invention disclosed herein is directed
                                     10
                                          to a fire retardant head-of-wall assembly configured to seal a linear head-of-wall construction joint
                                     11
                                          or gap when exposed to a heat source such as a building fire.” (Dkt. #103-1 at Abstract.) As recited
                                     12
                                          in the preamble of claim 1 of the ’365 Patent, the claimed head-of-wall assembly is “configured
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   to seal a linear head-of-wall construction joint or gap when exposed to a heat source...” (Dkt.
                                     15   #103-1 at col. 6, lines 43-45.)
                                     16
                                                  Klein admits that the Safti-Strip (with the thermal barrier) serves this same purpose:
                                     17
                                                          In Safti-Seal’s new products, the flow of heat (as liberated from a fire) to
                                     18                   the intumescent layer is significantly delayed because the heat must first
                                                          pass through the insulating thermal barrier layer … Thus, it takes a
                                     19                   substantially longer period of time for the flow of heat to reach the
                                     20                   intumescent layer, which, in turn, means it takes substantially longer for the
                                                          intumescent layer to expand, and for heat to transfer to the far side of the
                                     21                   wall.

                                     22   (Dkt. #104-3 at ¶13.) While the thermal barrier may retard heat flow across the intumescent strip
                                     23   in the accused products, the function, manner, and result of using an intumescent strip to “seal a
                                     24
                                          linear head-of-wall construction joint or gap when exposed to a heat source” is the same as
                                     25
                                          claimed in the Patents-at-Issue.
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -15-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 21 of 31


                                                  How the accused products fare in UL certification testing is irrelevant to infringement under
                                      1

                                      2   the doctrine of equivalents because UL standards are not the standard for judging the utility of the

                                      3   invention, particularly when UL standards are not mentioned in any of the claims. UL safety
                                      4   standards are irrelevant here just as FDA standards were irrelevant in certain pharmaceutical patent
                                      5
                                          cases. See, e.g., Johns Hopkins Univ. v. Datascope Corp., 543 F.3d 1342, 1349 n.3 (Fed. Cir. 2008)
                                      6
                                          (explaining that FDA equivalence is not relevant to whether patent infringement occurred); Baxter
                                      7
                                          Int'l, Inc. v. CareFusion Corp., No. 15-CV-9986, 2017 WL 1049840, at *5 (N.D. Ill. Mar. 20, 2017)
                                      8
                                      9   (“FDA approval is irrelevant to the question of patent infringement.”); see also, Zenith Labs., Inc.

                                     10   v. Bristol-Myers Squibb Co., 19 F.3d 1418, 1423 (Fed. Cir. 1994) (“As we have repeatedly said, it

                                     11   is error for a court to compare in its infringement analysis the accused product or process with the
                                     12   patentee’s commercial embodiment or other version of the product or process; the only proper
TROJAN LAW OFFICES




                                     13
                                          comparison is with the claims of the patent.”).
                     BEVERLY HILLS




                                     14
                                                  E.      The “Safti-Strip” Tape Infringes the Patents-in-Suit
                                     15
                                                  Defendants argue that the Safti-Strip tape by itself does not directly infringe the Patents-at-
                                     16
                                     17   Issue because Defendants sell the intumescent tape separately for assembly onto metal tracks by

                                     18   the customers. (Dkt. #104 at 1:16-20.) As Plaintiffs made clear in their Infringement Contentions,

                                     19   Plaintiffs are asserting only indirect infringement of the Safti-Strip tape itself. Defendants induce
                                     20
                                          infringement of the Patents-at-Issue by selling Safti-Strip tape to customers to build the claimed
                                     21
                                          head-of-wall assemblies:
                                     22
                                                          Plaintiffs further contend that Safti-Seal and/or Klein indirectly infringe the
                                     23                   patent claims set forth herein, under at least 35 U.S.C. §271(b), by actively
                                                          and knowingly inducing infringement of the patent claims by selling Safti-
                                     24
                                                          Strip material to customers ….
                                     25
                                          (Dkt. #103-5 at 1:15-21.)
                                     26
                                                          1.      Defendants Induce Infringement by Selling the Safti-Strip Tape to be
                                     27
                                                                  Used in an Infringing Manner
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -16-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 22 of 31


                                                  The Safti-Strip tape is marketed and sold for infringing usage. Safti-Seal’s website features
                                      1

                                      2   a video (https://www.youtube.com/watch?time_continue=86&v=iT_n6chfVuk) showing the

                                      3   installation of the Safti-Strip tape for a head-of-wall assembly as follows:
                                      4
                                      5

                                      6
                                      7
                                      8
                                      9

                                     10
                                     11
                                     12
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14
                                     15
                                     16
                                     17
                                     18           Safti-Seal’s website features photographs of the Safti-Strip tape used in “Current Projects”

                                     19   that infringe the Patents-in-Suit (whether the strip was field or factory applied):
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                          (Dkt. #103-11.)
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -17-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 23 of 31


                                                          2.      No Substantial Noninfringing Use of the Safti-Strip
                                      1

                                      2           Defendants argue that “induced and contributory infringement each require … that the

                                      3   accused product has no substantial non-infringing uses.” (Dkt. #104 at 1:6-8.) That is legally
                                      4   wrong. “The existence of a substantial non-infringing use does not preclude a finding of
                                      5
                                          inducement.” Toshiba Corp. v. Imation Corp., 681 F.3d 1358, 1364 (Fed. Cir. 2012) (citing
                                      6
                                          Elektromedizin GmbH v. Canady Tech. LLC, 629 F.3d. 1278, 1284 (Fed. Cir. 2010)). Furthermore,
                                      7
                                          Defendants have misconstrued the case upon which they rely, C.R. Bard, Inc. v. Adv.
                                      8
                                      9   Cardiovascular Sys., Inc., 911 F.2d 670, 675 (Fed. Cir. 1990). The C.R. Bard court found no

                                     10   inducement because of lack of evidence of whether the product was actually used in an infringing

                                     11   manner (which is not the issue in the present case). Id. It considered whether there were substantial
                                     12   non-infringing uses only to determine whether there was contributory infringement. Id. Thus, any
TROJAN LAW OFFICES




                                     13
                                          evidence of alleged “non-infringing uses” is irrelevant for purposes of determining whether
                     BEVERLY HILLS




                                     14
                                          Defendants are inducing infringement.
                                     15
                                                  There is no evidence that the Safti-Strip is used in any way other than to seal head-of-wall
                                     16
                                     17   construction joints. Safti-Seal’s own video clearly instructs customers to use the Safti-Strip tape in

                                     18   an infringing manner. That is sufficient to show inducing infringement. (Supp. Trojan Decl., Ex.

                                     19   19.)
                                     20
                                                  As for contributory infringement, Defendants present no evidence of any “substantial non-
                                     21
                                          infringing uses.” In Klein’s self-serving declaration, he states:
                                     22
                                                          Safti-Seal’s customers have purchased it for use at the bottom of walls, at
                                     23                   wall-ends, at control joints in the middle of walls, in elevator shafts, and
                                                          around doorways. One Safti-Seal customer purchased Safti-Strip to create
                                     24
                                                          a fire-resistant gasket around the doors of a firearm safe. The majority of
                                     25                   Safti-Seal’s sales of Safti-Strip are not for use on headers at the top of walls,
                                                          which is to say the majority of sales are not for uses that would infringe the
                                     26                   patents in suit even under the Plaintiffs interpretation of their claims.
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                            -18-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 24 of 31


                                          (Dkt. #104-3 at ¶18.) First, at least some of the claims require only a U-shaped track, and not even
                                      1

                                      2   a “header” track, so that even a bottom track or U-shaped stud is sufficient to meet the requirements

                                      3   of these claims in the ’314 and ’718 patents. Furthermore, Defendants cite to no evidence to
                                      4   corroborate Klein’s statements. For example, although there are many photographs on Safti-Seal’s
                                      5
                                          website of different projects, all of them showing the Safti-Strip tape applied at the top of the
                                      6
                                          sidewall, there are no photographs showing the Safti-Strip tape used “at control joints in the middle
                                      7
                                          of walls, in elevator shafts, and around doorways” as described in Klein’s declaration.
                                      8
                                      9           In fact, Plaintiffs propounded interrogatories and requests for documents that would show

                                     10   how the Safti-Strip tape is used. For example, Interrogatory No. 14 asked Defendants to “[i]dentify

                                     11   all projects in which any Safti-Seal products or Safti-Strip have been or are contracted to be
                                     12   installed….” (Supp. Trojan Decl., Ex. 17 at Response No. 14.) Document Request No. 9 asked
TROJAN LAW OFFICES




                                     13
                                          for “[a]ll communications with third parties regarding the Safti-Strip.” (Supp. Trojan Decl., Ex. 18
                     BEVERLY HILLS




                                     14
                                          at 8.) In response to such discovery requests, Defendants never identified a single instance of any
                                     15
                                          “noninfringing use” such as Klein now alleges in his declaration. (Id.)
                                     16
                                     17           Furthermore, it is not sufficient for Defendants’ to identify one single allegedly non-

                                     18   infringing use. To avoid contributory infringement, a defendant must show that there are substantial

                                     19   non-infringing uses. “[N]on-infringing uses are substantial when they are not unusual, far-fetched,
                                     20
                                          illusory, impractical, occasional, aberrant, or experimental.” Toshiba Corp. v. Imation Corp., 681
                                     21
                                          F.3d 1358, 1362 (Fed. Cir. 2012). The Court can consider “the invention’s intended purpose, and
                                     22
                                          the intended market.” Id. Even if accepted as true, the Klein declaration provides no evidence
                                     23
                                          whether the alleged uses are “substantial.” At best, they sound “occasional” or “unusual.”
                                     24
                                     25   Furthermore, a review of the patents and Safti-Seal’s website plainly show that the invention’s

                                     26   intended purpose and the intended market are fire stopping in head-of-wall assemblies. There is no
                                     27   “substantial” non-infringing use for the Safti-Seal products.
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -19-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 25 of 31


                                                  Hence, Defendants cannot be heard to claim non-infringing uses when they have no credible
                                      1

                                      2   evidence of any such “substantial” use.

                                      3                   3.      Potential “Noninfringing Uses” of the Safti-Strip Tape Does Not Matter
                                      4                           Because There Is Overwhelming Evidence That Defendants Intended
                                      5
                                                                  the Safti-Strip Tape to be Used in an Infringing Manner
                                      6
                                                  Even if a product has some non-infringing uses, if an accused infringer instructs his
                                      7
                                          customers to use his product for an infringing use, he has at least induced infringement. See Toshiba
                                      8
                                      9   Corp. v. Imation Corp., 681 F.3d 1358, 1364-65 (Fed. Cir. 2012) (holding that the “existence of a

                                     10   substantial non-infringing use does not preclude a finding of inducement,” and explaining that,

                                     11   “where an alleged infringer designs a product for use in an infringing way and instructs users to
                                     12   use the product in an infringing way, there is sufficient evidence for a jury to find direct
TROJAN LAW OFFICES




                                     13
                                          infringement.”). Here, the evidence shows that Klein and Safti-Seal instructed their customers to
                     BEVERLY HILLS




                                     14
                                          use their products for an infringing use as described above. Hence, there is no triable issue of fact
                                     15
                                          that the Safti-Strip infringes the asserted claims, and that Defendants induced their customers to
                                     16
                                     17   make or use these infringing head-of-wall assemblies with Safti-Seal products.

                                     18           F.      The Metal Track Products

                                     19           Defendants argue that the metal tracks also do not infringe “for the same reasons given
                                     20
                                          above with respect to the Safti-Strip”:
                                     21
                                                          In addition to the Safti-Strip, discussed above, Defendant Safti-Seal also
                                     22                   manufactures metal track products that consist of the Safti-Strip gasket
                                                          applied to sheet-metal assemblies suitable for various installations in
                                     23                   construction projects.…These products cannot possibly infringe the patents-
                                                          in-suit directly for the same reasons given above with respect to the Safti-
                                     24
                                                          Strip: they do not include wallboard, sheet metal studs, and other required
                                     25                   elements set forth in the patent claims.

                                     26   (Dkt. #104 at 12:18 – 13:11.) Again, Defendants have not identified sales record to show that the
                                     27   metal tracks are used for any purposes other than on head-of-wall assemblies. The photographs of
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -20-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 26 of 31


                                          “Current Projects” on Defendants’ own website only shows the metal tracks used in head-of-wall
                                      1

                                      2   assemblies.    Further, Defendants’ argument that the accused Safti-Seal products pass UL

                                      3   certification for sealing construction gaps in head-of-wall assemblies further demonstrate that the
                                      4   accused products are used in head-of-wall assemblies that infringe the Patents-at-Issue.
                                      5
                                                  G.      Klein Has Infringed the Patents-in-Suit
                                      6
                                                  Klein should be held personally liable for the infringement because as its sole owner and
                                      7
                                          officer, he directed and authorized the patent infringement. The Ninth Circuit instructs that “[a]
                                      8
                                      9   corporate officer or director is, in general, personally liable for all torts which he authorizes or

                                     10   directs or in which he participates, notwithstanding that he acted as an agent of the corporation and

                                     11   not on his own behalf.” Comm. for Idaho’s High Desert, Inc. v. Yost, 92 F.3d 814, 823 (9th Cir.
                                     12   1996). Here, Klein is “Safti-Seal’s owner, officer, office manager, employee, sales team, technical
TROJAN LAW OFFICES




                                     13
                                          team, manufacturing team, and janitor.” (Dkt. #103-13 at Response to Request No. 6.) Further,
                     BEVERLY HILLS




                                     14
                                          Defendants state that “Safti-Seal manufactures and stores Safti-Frame and Safti-Strip in Mr. Klein’s
                                     15
                                          garage, and at a warehouse in Auburn, Washington.” (Id. at Response to Request No. 7.)
                                     16
                                     17           As such, Klein is the moving, active conscious force behind Safti-Seal’s infringement

                                     18   because he, and he alone is the final decision-maker for Safti-Seal. See, e.g., Microsoft Corp. v.

                                     19   Suncrest Enter., No. C03-5424 JF (HRL), 2006 WL 1329881, at *7 (N.D. Cal. May 16, 2006)
                                     20
                                          (noting “personal liability for trademark infringement and unfair competition is established if the
                                     21
                                          officer is a moving, active conscious force behind the defendant corporation’s infringement”). As
                                     22
                                          Klein wears practically every hat at Safti-Seal—from owner to office manager, from sales team to
                                     23
                                          technical team, from manufacturing team to warehouseman—not an inch of the accused products
                                     24
                                     25   is made, sold, and moved without Klein’s approval and hands-on involvement. Hence, there can

                                     26   be no doubt that he authorized and ratified every aspect of Safti-Seal’s infringing activities.
                                     27   Therefore, the Court must deny Defendants’ cross-motion for partial summary judgment as to
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -21-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 27 of 31


                                          Klein’s personal liability, and instead, grant Plaintiffs’ motion for summary adjudication on this
                                      1

                                      2   issue.

                                      3            H.     The Undisputed Facts Establish a Breach of Contract
                                      4            Defendants’ sole argument for cross summary judgment on Plaintiffs’ claim for breach of
                                      5
                                          contract is that “Safti-Seal was not a party to the settlement agreement – that contract was between
                                      6
                                          the Plaintiffs, Klein, and BlazeFrame.” (Dkt. #104 at 21:2-3.) To be clear, Safti-Seal is not accused
                                      7
                                          of breaching the settlement. Klein and BlazeFrame breached the settlement.
                                      8
                                      9            If the Court finds Klein is personally liable for infringing the Patents-at-Issue, then Klein is

                                     10   in breach of the Settlement Agreement. Under the Settlement Agreement, Klein is prohibited from

                                     11   offering for sale or selling any product covered by the Patents-at-Issue and from offering for sale
                                     12   or selling intumescent strips that he knows will be used to make the Licensed Products. (Dkt. #11-
TROJAN LAW OFFICES




                                     13
                                          1.) Klein’s sale of the infringing accused products is a continuing breach of the Settlement
                     BEVERLY HILLS




                                     14
                                          Agreement.
                                     15
                                                   Alternatively, if the Court finds that the accused Safti-Seal products infringe the Patents-at-
                                     16
                                     17   Issue, then Klein is in breach of the Settlement Agreement because, as the owner of Safti-Seal, he

                                     18   is in privity with it and, thus, its sales of the accused products under his direction constitute breach

                                     19   of the Settlement Agreement. Zendel v. Circle Location Servs., Inc., No. CV1107963SJOCWX,
                                     20
                                          2012 WL 12877182, at *8 (C.D. Cal. Apr. 5, 2012) (“privity runs between a close corporation and
                                     21
                                          its sole or controlling stockholder” (internal quotations and citation omitted)).           Either way,
                                     22
                                          summary judgment must also be granted on Plaintiffs’ breach of contract claim if the Court
                                     23
                                          concludes that the accused Safti-Seal products infringe the Patents-at-Issue.
                                     24
                                     25            Even if the Court finds Plaintiffs are not entitled to summary judgment on their breach of

                                     26   contract claim, Defendants are not entitled to summary judgment on their cross-motion. In addition
                                     27   to the claim that Klein breached by infringing the patents, there are still other breaches that need to
                                     28

                                          PLAINTIFFS’ MSJ REPLY                            -22-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 28 of 31


                                          be determined, including whether Klein breached the settlement agreement by improperly
                                      1

                                      2   disclosing confidential terms of that agreement. At least that issue remains irrespective how the

                                      3   Court rules on the pending motions.
                                      4           I.      Plaintiffs Are Entitled to Summary Judgment on Defendants’ Patent Misuse
                                      5
                                                          Defense
                                      6
                                                          1.      Collateral Estoppel Bars Defendants’ Patent Misuse Defense
                                      7
                                                  Defendants argue that collateral estoppel is not applicable to their patent misuse defense.
                                      8
                                      9   (Dkt. #104 at 23:15-17.) Collateral estoppel bars Defendants’ patent misuse defense because the

                                     10   misuse defense here is identical to the misuse defense that was dismissed with prejudice in the 5968

                                     11   Case. (Dkt. #102 at 20:11 – 21:5.) Even if the patent misuse defense is not barred by collateral
                                     12   estoppel, the Court should still grant summary judgment against Defendants on this defense because
TROJAN LAW OFFICES




                                     13
                                          Defendants have not raised any triable issue of fact as to patent misuse.
                     BEVERLY HILLS




                                     14
                                                          2.      There Is No Tying Agreement
                                     15
                                                  Defendants argue that Plaintiffs have engaged in an impermissible “tying agreement.” (Dkt.
                                     16
                                     17   #104 at 24:1-7.) Defendants contend that Plaintiffs, “together with Defendant Safti-Seal, are the

                                     18   only manufacturers of header tracks having a factory-applied intumescent strip,” and that Plaintiffs

                                     19   used their market power to “require their BlazeFrame header track products to always be sold
                                     20
                                          together with a non-patented product.” (Id.) Defendants cite no evidence to support their
                                     21
                                          contention that “Plaintiffs’ selling practice is an unlawful tying arrangement because the unpatented
                                     22
                                          add-on product, Clark’s ‘Perimeter L-Bead,’ is sold at an inflated price and is not available from
                                     23
                                          any alternative suppliers.” (Id. at 24:12-13.) Because Defendants bear the burden of proof on their
                                     24
                                     25   patent misuse defense, they must offer more than sheer speculation regarding a “tying agreement”

                                     26   to sustain the defense. Nelson v. Pima Cmty. Coll., 83 F.3d 1075, 1081-82 (9th Cir. 1996) (“mere
                                     27   allegation and speculation do not create a factual dispute for purposes of summary judgment”);
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -23-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 29 of 31


                                          Perez v. Gordon & Wong Law Grp., P.C., No. 11-CV-03323-LHK, 2012 WL 1029425, at *7 (N.D.
                                      1

                                      2   Cal. Mar. 26, 2012) (“the defendant bears the burden of proof on an affirmative defense”).

                                      3                   3.      No Reverse Settlement Payment
                                      4           Defendants further assert that the relationship between the parties is “almost certainly a
                                      5
                                          ‘reverse settlement payment’ of a nature that explained [sic] are highly suspect in F.T.C. v. Actavis,
                                      6
                                          Inc., 570 U.S. 136, 140 (2013).” (Dkt. #104 at 23:10-11.) The facts of the several parties to this
                                      7
                                          litigation do not fit the definition of “reverse settlement payment.”
                                      8
                                      9           In F.T.C., the Supreme Court taught that a reverse settlement payment is where “Company

                                     10   A sues Company B for patent infringement. The two companies settle under terms that require (1)

                                     11   Company B, the claimed infringer, not to produce the patented product until the patent's term
                                     12   expires, and (2) Company A, the patentee, to pay B many millions of dollars.” F.T.C. v. Actavis,
TROJAN LAW OFFICES




                                     13
                                          Inc., 570 U.S. at 140-41. This is not such a scenario – quite the contrary. In the present case,
                     BEVERLY HILLS




                                     14
                                          ClarkDietrich has never been accused of infringing the patents-in-suit. It has always been a
                                     15
                                          licensee, the licensor has merely changed (it was first BlazeFrame and is now CEMCO).
                                     16
                                     17   Furthermore, ClarkDietrich has always paid its licensor for the right to commercialize the patented

                                     18   BlazeFrame products. It has never been paid not to produce products.

                                     19   III.    CONCLUSION
                                     20
                                                  For the foregoing reasons, the Plaintiffs are entitled to partial summary judgment and
                                     21
                                          Defendants’ Cross-Motion for Summary Judgment should be denied.
                                     22
                                     23
                                     24
                                                                                        Respectfully submitted,
                                     25                                                 TROJAN LAW OFFICES
                                     26                                                 by
                                     27   June 24, 2019                                 /s/ R. Joseph Trojan
                                                                                        R. Joseph Trojan (pro hac vice)
                                     28

                                          PLAINTIFFS’ MSJ REPLY                          -24-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 30 of 31


                                                                             9250 Wilshire Blvd.
                                      1
                                                                             Beverly Hills, CA
                                      2                                      Attorney for Plaintiff,
                                                                             CALIFORNIA EXPANDED METAL PRODUCTS
                                      3                                      COMPANY
                                      4
                                          June 24, 2019                      /s/ Brian G. Bodine
                                      5                                      Brian G. Bodine (WSBA No. 22414)
                                                                             LANE POWELL PC
                                      6                                      1420 Fifth Avenue, Suite 4200
                                                                             Seattle, WA 98111
                                      7
                                                                             Telephone: 206-223-7000
                                      8                                      Attorney for Plaintiff,
                                                                             CALIFORNIA EXPANDED METAL PRODUCTS
                                      9                                      COMPANY

                                     10   June 24, 2019                      /s/ Ann G. Schoen
                                                                             Ann G. Schoen (pro hac vice)
                                     11
                                                                             FROST BROWN TODD LLC
                                     12                                      301 East Fourth Street, Suite 3300
                                                                             Cincinnati, OH 45202
TROJAN LAW OFFICES




                                     13                                      Telephone: 513-651-6128
                                                                             Attorney for Plaintiff,
                     BEVERLY HILLS




                                     14                                      CLARKWESTERN DIETRICH BUILDING
                                     15                                      SYSTEMS LLC

                                     16
                                          June 24, 2019                      /s/ Robert J. Carlson
                                     17                                      Robert J. Carlson (WSBA No. 18455)
                                                                             LEE & HAYES PLLC
                                     18                                      701 Pike Street, Suite 1600
                                     19                                      Seattle, WA 98101
                                                                             Telephone: 206-876-6029
                                     20                                      Attorney for Plaintiff,
                                                                             CLARKWESTERN DIETRICH BUILDING
                                     21                                      SYSTEMS LLC
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY               -25-
                                          Case No. 2:18−cv−00659−JLR
                                           Case 2:18-cv-00659-JLR Document 107 Filed 06/24/19 Page 31 of 31



                                      1                                      CERTIFICATE OF SERVICE
                                      2
                                                   I hereby certify that on the 24th day of June 2019, I caused to have electronically filed the
                                      3
                                          foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
                                      4
                                          such filing to the following:
                                      5            tjl@elamburke.com
                                      6            thomas@seattlepatentlaw.com
                                                   pbageant@hollystonelaw.com
                                      7            bob@leehayes.com
                                                   bodineb@lanepowell.com
                                      8            JKersting@fbtlaw.com
                                                   ASchoen@fbtlaw.com
                                      9

                                     10
                                     11
                                                                                         TROJAN LAW OFFICES
                                     12
                                                                                         by
TROJAN LAW OFFICES




                                     13
                                                                                         /s/ R. Joseph Trojan
                     BEVERLY HILLS




                                     14                                                  R. Joseph Trojan (pro hac vice)
                                                                                         9250 Wilshire Blvd.
                                     15
                                                                                         Beverly Hills, CA
                                     16                                                  Attorney for Plaintiff,
                                                                                         CALIFORNIA EXPANDED
                                     17                                                  METAL PRODUCTS COMPANY

                                     18   0121667.0656744 4837-0693-6987v1

                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28

                                          PLAINTIFFS’ MSJ REPLY                           -26-
                                          Case No. 2:18−cv−00659−JLR
